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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA

v.                           Case No. 4:17-CR-000293 BSM

TROY R. LOADHOLT, et al.

                    PRETRIAL ORDER FOR CRIMINAL CASES

       This order applies to the defendants who have appeared herein and does not apply to

Troy R. Loadholt, Jeffrey G. Howell, or Daniel Adame.

       This order is designed to eliminate the need for the filing of, response to, and ruling

upon “routine” motions, such as those involving: Rule 16 discovery; disclosure of

exculpatory evidence; disclosure of any offer of leniency or plea bargains between the United

States or the State of Arkansas and any government witness; preservation of field notes of

any interview conducted by a government agent; disclosure of Rule 404(b) evidence; early

disclosure of Jencks Act material; extensions of time to file pretrial motions; requests by the

government for reciprocal discovery; notice of alibi; requests for grand jury testimony; and

electronic surveillance.

                                          RULE 16

       Federal Rule of Criminal Procedure 16 does not require a defendant to file a motion

for discovery, nor does it require the government to file a motion for reciprocal discovery.

See 2 C. Wright, FEDERAL PRACTICE AND PROCEDURE: CRIMINAL 2d § 675. The

parties are therefore expected to provide discovery promptly and to do so without an order.

                                       RULE 404(b)
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       Similarly, a motion is not required for a defendant to obtain Rule 404(b) information.

See Fed. R. Evid. 404(b). Defendants must present any request for Rule 404(b) information

to the government, and the government must comply without an order.

                                    BRADY/GIGLIO

       The government must comply with its Constitutional obligation to disclose any

information known to it that is material to the guilt or punishment of the defendant whether

or not the defendant requests it. Brady v. Maryland, 373 U.S. 83 (1963); Giglio v. United

States, 405 U.S. 150 (1972). Brady and Giglio information must be disclosed in time for

effective use at trial. In re United States (United States v. Coppa), 267 F. 3d 132, 142 (2d

Cir. 2001); United States v. Olson, 697 F.2d 273 (8th Cir. 1983). Cf. United States v. Higgs,

713 F.2d 39, 44 (3d Cir. 1983).

                                      JENCKS ACT

       Jencks Act material may not be ordered disclosed until a witness has testified. 18

U.S.C. § 3500. Nevertheless, the government is encouraged to disclose this material as early

as possible to avoid delays.

                                     FIELD NOTES

       The government must instruct agents of the United States to preserve field notes in

existence at the time of indictment. Rulings on the discoverability of field notes will be

made as the issues are presented.

                      NEWLY DISCOVERED INFORMATION

       It is the continuing duty of counsel for both sides promptly to disclose to opposing

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counsel all newly discovered information or other material within the scope of this order.

Fed. R. Crim. P. 16(c).

                                  NON-COMPLIANCE

       If a party fails to comply with a discovery request, the party seeking discovery may

move for an order directing compliance. Fed. R. Crim. P. 16(d)(2). Until a party has

unsuccessfully requested discovery, no motion is needed.           2 C. Wright, FEDERAL

PRACTICE AND PROCEDURE: CRIMINAL 2d § 257. Counsel must comply with Local

Rule 7.2(g) in connection with any motions to compel discovery.

                                 PRETRIAL MOTIONS

       Pursuant to Fed. R. Crim. P. 12(c), the deadline for pretrial motions is two weeks prior

to trial. Motions that arise from Jencks Act material are excluded from this deadline. More

than two weeks will usually be helpful to the court, i.e., the earlier, the better. Motions in

limine are not included in this deadline for pretrial motions, but even for motions in limine,

the earlier, the better. The parties are especially encouraged to file any motions that may

require a hearing, such as a motion to suppress, more than two weeks before trial.

                               MOTIONS TO SUPPRESS

       Motions to suppress evidence obtained from a search pursuant to a warrant must

allege specific facts that, if proven, would provide a basis of relief. An evidentiary hearing

on a suppression motion will be denied when the motion is supported only by general or

conclusory assertions founded on mere suspicion or conjecture.

       IT IS SO ORDERED this 9th day of July 2019.

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                                   ________________________________
                                   UNITED STATES DISTRICT JUDGE




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